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                          EXHIBIT 1
        Case 1:23-cv-00325-WCB Document 92-1 Filed 02/08/24 Page 2 of 10 PageID #: 2270
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
Deloitte Consulting LLP and Deloitte Development LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 23-325-WCB
                                                                              )
                    Sagitec Solutions, LLC
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                                 David G. Minkkinen
 To:                                                   9209 Preston Pl, Eden Prairie, MN 55347
                                                       (Name of person to whom this subpoena is directed)

       ✔
       ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           Set forth on Schedule A, attached.


  Place: David A. Prange, Esq., Robins Kaplan, LLP                                      Date and Time:
            800 LaSalle Avenue, Suite 2800
            Minneapolis, MN 55402                                                                            02/29/2024 5:00 pm


     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:2/8/2024

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Sagitec Solutions, LLC                                                   , who issues or requests this subpoena, are:
David A. Prange, Esq., Robins Kaplan LLP, 800 LaSalle Avenue, Suite 2800, Minneapolis, MN 55402, 612.349.8500,
dprange@robinskaplan.com
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 23-325-WCB

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                                           INSTRUCTIONS
        1.       In order to fully comply with this Subpoena, you should produce all responsive

 documents that are in your possession, custody, or control, as they are kept in the ordinary course

 of business, including, where applicable, any index tabs, file dividers, labels, designations, or

 information as to the location of the documents.

        2.       You should resolve any perceived ambiguity in favor of the most complete

 disclosure, and you should describe what you feel is ambiguous and why, responding in the

 alternative where possible. To the extent that it results in a more complete disclosure, the singular

 shall be construed to include the plural and vice versa, and the present tense shall be construed to

 include the past tense, and vice versa.

        3.       Production is requested of documents in full, without abbreviation or

 expurgation. A copy of both side of the requested documents shall be produced, unless the

 reverse side of the documents is completely blank. Any computerized data shall be produced

 both on disk in its native format and in its printed form. If copies of the documents are produced,

 the copies must be identical to the original. For example, if a document contains multiple stapled,

 clipped, or otherwise collated pages, then the copy shall contain each attached page and be

 similarly collated. All documents shall be duplicated and attached to the copy in the exact

 manner and location as such items are appended to the original document.

        4.       Your response shall not be deemed complete until documents and things are

 produced or a date certain is provided as to when the requested documents and things will be

 produced.

        5.       If no documents are responsive to a particular request, You are to state that no

 responsive documents exist.

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        6.       In the event You object to any request herein or any part thereof, You shall state

 with specificity the grounds of objection and respond to the fullest extent that such production is

 not subject to objection.

        7.       In the event You object to the production of any document or thing on the ground

 that it is protected from discovery under the attorney-client privilege or work product immunity

 or is otherwise not discoverable, You shall identify each such document or thing on a separate

 schedule to be produced to Sagitec, such identification to include at least the following::

                 a.      The basis on which the privilege is claimed;

                 b.      The title of the document;

                 c.      The nature of the document (e.g., interoffice memorandum, report, office

                         procedure, etc.);

                 d.      The date of the document;

                 e.      The number of pages in such document;

                 f.      The names and positions of the author of the document and all

                         other person participating in the preparation of the document;

                 g.      The name and position of each individual or other person to

                         whom the document, or a copy thereof, was sent or otherwise

                         disclosed;

                 h.      A description of any accompanying material transmitted with or

                         attached to such document;

                 i.      The particular request(s) to which such document is responsive;

                 j.      Whether any business or non-legal matter is contained or

                         discussed in such document; and



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                  k.      A summary statement of the subject matter of the document or

                          of the communication in sufficient detail to permit the Court to

                          rule on the propriety of the objection.

           8.     In the event that any requested document has been lost or destroyed, that

 document shall be identified by indicating the date, the subject matter, number of pages,

 originator, and all persons to whom it was distributed. The date of loss or destruction, manner of

 loss or destruction, reasons for destruction, person(s) authorizing destruction, person(s) losing or

 destroying the document, and custodian(s) of the document at the time of the loss or destruction

 shall be identified.

                                           DEFINITIONS

           1.    “You” or “Your” mean David Gerald Minkkinen.

           2.    “Deloitte,” or “Plaintiffs,” means Deloitte Consulting LLP, Deloitte Development

 LLC, or any affiliated entities, including without limitation any parent, predecessors (including

 BearingPoint, Inc.), successor, wholly or partially owned subsidiaries, and other persons from

 whom Deloitte has the alleged legal right to obtain the information sought by this discovery.

           3.    “Supporting” means tending to prove, establish, or corroborate.

           4.    The terms “and” and “or” will be understood as either conjunctive or disjunctive,

 whichever is more inclusive on context.

           5.    The terms “any,” “each,” and “all” will be understood to include “each and

 every.”

           6.    The term “including” will be construed to mean “without any limitation.”

        7.       The terms “regarding,” “relating to,” and “related to” are to be given their

 broadest possible meaning, including but not limited to referring to, describing, evidencing,



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 concerning, constituting, mentioning, containing, supporting, discussing, analyzing, pertaining

 to, being connected with, resulting from, reflecting upon, in whole or in part, directly or

 indirectly, the stated subject matter.

        8.       The singular form of a noun or pronoun shall include the plural form of the noun

 or pronoun, and vice versa.

        9.       The past tense shall include the present tense and the present tense shall include

 the past tense as to make the request inclusive rather than exclusive.

        10.      “Document” and “documents” have the broadest meaning ascribed to them by

 Rule 34(a) of the Federal Rules of Civil Procedure and encompass any writing of any kind,

 including originals and non-identical copies (whether different from the original by reason of any

 notation made on such copies or otherwise). The terms “document” and “document(s)” include,

 without limitation, the following items, whether printed or reproduced by any process, or written

 or produced by hand or stored in computer memory, magnetic or hard disk, or other data storage

 medium, and whether or not claimed to be privileged, confidential, or otherwise excludable from

 discovery, including without limitation: copyrights, copyright applications, patents, patent

 applications, articles, publications, presentations, posters, slides, electronic presentations, notes,

 letters, correspondence, Communications, telegrams, memoranda, summaries or records of

 telephone conversations, summaries or records of personal conversations or meetings, diaries,

 reports, laboratory and research reports and notebooks, recorded experiments, charts, plans,

 drawings, diagrams, schematic diagrams, HDL, Verilog, source code or other computer code,

 illustrations, product descriptions, labels, product inserts, product analyses, requests for

 proposals, documents related to proposals or actual product improvements or changes, user

 manuals or guides, installation guides or manuals, technical descriptions or specifications,



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 product repair manuals or guides, photographs, video images, software flow charts or

 descriptions or specifications, product functional descriptions or specifications, minutes or

 records of meetings, summaries of interviews, reports, or investigations, opinions or reports of

 consultants, reports of patent searches, patent appraisals, opinions of counsel, agreements,

 reports or summaries of negotiations, brochures, pamphlets, advertisements, circulars, trade

 letters, press releases, drafts of documents, and all other material fixed in a tangible medium of

 whatever kind.

       11.        “Communication(s)” means the transmittal of information by any means, and

 includes any transfer of information, facts, ideas, opinions, inquiries, or thoughts by any means,

 written, oral, or otherwise, at any time or place under any circumstances. The definition is not

 limited to transfers between persons but also includes other transfers, such as records and

 memoranda to file; any written letter, memorandum, or other document which was sent by one or

 more individuals to another or others; any telephone call between one or more individuals and

 another or others, whether such call was by chance or prearranged, formal or informal; and any

 conversation or meeting between one or more individuals and another, whether such contact was

 by chance or prearranged, formal or informal.

                              DOCUMENTS TO BE PRODUCED

        1. All data storage devices in Your possession, custody, or control containing any and all

 Documents, Communications, or other artifacts that were originally created during Your

 employment at Deloitte, or that were ever stored on Deloitte servers or computer equipment.

        2. All data storage devices in Your possession, custody, or control that were provided to

 you by Deloitte at or about the time that your employment with Deloitte terminated in 2013.




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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 8, 2024, a copy of the foregoing

 document was served on the counsel listed below in the manner indicated:

 BY EMAIL

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